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                 THE ADMINISTRATIVE BOARD OF
                 HARVARD COLLEGE
                 General Information on Disciplinary Cases
The Faculty of Arts and Sciences has delegated to the Administrative Board of Harvard College the authority to handle any
undergraduate disciplinary case for which there is governing faculty legislation and/or for which there is precedent for
interpreting and applying the rules and standards of conduct of the College.

Harvard College has adopted a pedagogic, or educational model of college discipline, as opposed to a model based on the
criminal justice system. In the educational model, while discipline may be imposed, the goal is for the College to effectively
reach its students and engage with them about their behavior and the reasons why they may not have met our expectations
for conduct within our community. The College’s underlying premise is that, except in the rarest of circumstances, students
involved in disciplinary cases ultimately will graduate from Harvard; thus the imperative is to help students understand the
rules and the consequences of their actions so that they can learn greater responsibility both within the University and
beyond.

The Administrative Board has approximately thirty members including: the Dean, who serves as Chair; several of the
Associate and Assistant Deans of the College; the thirteen Allston Burr Resident Deans and the three Resident Deans of
Freshmen; the Registrar; the Dean of Admissions and Financial Aid; and one or more senior members of the Faculty. The
Board ordinarily meets Tuesday afternoons during term time. A list of current Board members, as well as more detailed
information on the Board, may be found on the Administrative Board website (http://www.adboard.fas.harvard.edu).

procedures

The procedures for resolving disciplinary cases are designed to ensure that students are given a fair opportunity to be heard
and that the Board has adequate reliable information to reach a decision. There are, however, both commonalties and
differences across disciplinary case procedures depending upon the nature and complexity of the case and the source of the
complaint or report of alleged misconduct. For example, a case of possible academic dishonesty reported to the College by a
member of the faculty ordinarily will be prepared for Board review by a set of procedures different from those used in a case
of alleged sexual misconduct reported by a student’s peer. The Administrative Board’s procedures and practices provide
students with various opportunities and options to assist them in working with the Board. Among others, these include:

         the opportunity to submit written statements to the Board;
         the opportunity to review all materials considered by the Board in making a decision;
         the opportunity to make a personal appearance before a subcommittee of the Board in cases where formal
         disciplinary action is possible;
         the option to be accompanied by a personal adviser (an officer of the University affiliated with the Faculty of Arts
         and Sciences), in addition to their Board representative, during a personal appearance before the subcommittee;
         the opportunity to ask the Board to reconsider a decision should relevant information come to light that was not
         available at the time the Board made its decision, or if there is evidence of a procedural error;
         the option to appeal certain formal disciplinary actions of the Board to the Faculty Council; and
         the opportunity to request that a disciplinary case be heard by the Student-Faculty Judicial Board (the “SFJB,”
         described below). The SFJB independently determines, according to its governing guidelines, whether a particular
         matter is within its jurisdiction and thus appropriate for its consideration (see further below).

Further, in peer dispute cases and/or disciplinary cases that involve allegations of serious criminal conduct, the Board:

         informs students of their rights and alternatives for proceeding through the criminal justice system;
         allows students making a complaint, as well as students who are charged, to be interviewed by or to appear before
         the subcommittee, respectively;
         informs students making a complaint of the final disposition of the case; and
         advises students to seek legal counsel before speaking with, or submitting written statements to, College officials.
         As the Board’s disciplinary process is intended to be pedagogical rather than judicial, legal counsel plays no role.
         Instead, students are advised to seek legal advice about the implications of the College’s disciplinary process on
         any criminal case that may involve them.

Students have an official representative on the Administrative Board who will act as their liaison in any Board matter.
Ordinarily, a student’s representative to the Board is his or her Resident Dean of Freshmen or Allston Burr Resident Dean.
The role of the Board Representative is to present to the Board a full summary of the facts of any petition or case, making
certain the student’s “voice” is heard. The Board Representative (and the resident dean, if the student is working with an
alternate) abstains from voting on all matters directly related to students whom he or she represents. Normally, the Chair of
the Board abstains from voting in all matters as well.

To ensure that the Board receives a full and balanced account of a case or petition, students should work closely with their
Board Representative. Students are strongly encouraged to submit a written statement in response to the allegation. In all
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representations to the Board (or its members, subcommittees, or fact finders), students are expected to be honest and
forthcoming.

In addition to Resident Deans, students may wish to seek advice from others, including parents, House Masters, faculty,
coaches, or resident tutors or proctors. The procedures of the Administrative Board, however, do not allow for the direct
participation of parents, attorneys, or those who are not officers of the University affiliated with the Faculty of Arts and
Sciences. As stated above, the College’s disciplinary system is not a legal system, and the procedures of the Administrative
Board are designed to achieve ends different from those of criminal or civil litigation. While a court of law may only be
interested in establishing innocence or guilt, the Board is interested in the larger educational, developmental, and
community implications of student conduct.

All proceedings of the Board are confidential, though students who are charged with a violation of Faculty rules will be fully
informed of the Board’s decisions, and in certain very limited circumstances students or faculty members making
complaints will be informed of the disposition of cases.

The Administrative Board's decisions are governed by the rules and regulations contained in the Handbook for Students,
and guided by standard responses and considerations of equity. Every effort is made to provide fair treatment of each
undergraduate relative to all other undergraduates.

standard responses to disciplinary cases

The Administrative Board has a range of possible outcomes it can take in disciplinary cases. To take any disciplinary action
against a student, the Board must be sufficiently persuaded that the student has violated the rules of the Faculty. The
Board’s disciplinary case decisions generally depend on two criteria: 1) the seriousness of the infraction; and 2) extenuating
circumstances, including the extent to which a student has had similar trouble before. Any disciplinary action requires at
least a majority vote and, in the case of a requirement to withdraw, at least a two-thirds vote. Ordinarily, a close vote will
lead to further consideration of the case by the Board, after which another vote will be taken. The outcomes available to the
Board are:

         Scratch. A finding by the Board that nothing wrong occurred, or that there are no grounds for action. A decision
         of scratch is recorded in a student’s file to signal that the Board found no fault.

         Take No Action. This response indicates that a serious accusation was made but was not or could not be
         substantiated.

         Admonish. Admonition is a warning from the Board that a student has violated the rules or standards of conduct
         in the College, and it begins a state of jeopardy (i.e., it signals to the student that the Board may respond to future
         misconduct with formal disciplinary action).

         Probation. Disciplinary probation puts a student on notice that her or his conduct gives considerable cause for
         concern. A student on disciplinary probation is expected to pay very close attention to his or her conduct, both
         during the period of probation and after. The Board will likely respond more seriously (e.g., requirement to
         withdraw) to further infractions. A student is relieved of probation at the end of the time period set by the Board,
         provided there has been no further misconduct.

         Requirement to Withdraw. Action taken when a student’s conduct is unacceptable and the Board has
         determined that the student needs to be separated from the College in order to gain perspective on his or her
         actions, or to address and resolve his or her difficulties. In all cases, the Board requires the student to leave the
         Harvard community completely and to hold a full-time, paid, non-academic job in a non-family situation, for at
         least six consecutive months before petitioning for readmission to the College. The length of withdrawal
         normally ranges from two to four terms. Readmission to the College after a requirement to withdraw is not
         automatic, and requires a vote of the full Administrative Board. A student readmitted after a requirement to
         withdraw for disciplinary reasons is readmitted in good standing (unless the misconduct also resulted in an
         unsatisfactory academic record). Ordinarily, a second requirement to withdraw (whether for a disciplinary case
         or academic review) is final.

         Recommendation to Dismiss. In the most serious cases of misconduct, the Administrative Board may require a
         student to withdraw and make a recommendation to the Faculty that he or she be dismissed from the College.
         Dismissal severs a student’s connection with the University. If the Faculty votes to dismiss a student, he or she
         can be readmitted only in the rare instance of another vote by the Faculty. The Administrative Board cannot
         itself dismiss a student.

The Student-Faculty Judicial Board

The Student-Faculty Judicial Board (SFJB) was established by the Faculty of Arts and Sciences in 1987 to address alleged
offenses that have broad implications for the community and for which there is no clear precedent or consensus in the
community about the impermissibility of the actions or the appropriate response. The SFJB is charged with hearing cases in
which the issues involved have special importance for the University community at large and the principles on which it is
based. It is expected that the SFJB by its decisions will establish community standards.
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